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IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
IN AND FOR PINELLAS COUNTY, FLORIDA
CIVIL DIVISION

Case No.: [lZ- C`Igzgpqg.__ (‘/:_‘ ll

JEROME L. WATTS, and
LISA WATTS, his wife,

Plaintiffs,
V'S.
RED ROEIN INTERNATIONAL, INC.,
a Foreign Profit Corporation,
d/b/a RED ROBIN GOURMET BURGERS AND BREWS,

Defendant.

COMPLAINT

COUNT I

The Plaintiffs, JEROME L. WATTS and LISA WATTS, husband and
wife, by and through the undersigned attorney, sue the Defendant,
RED ROBIN INTERNATIONAL, INC., A Foreign Profit Corporation, d/b/a
RED ROBIN GOURMET BURGERS AND BREWS, and allege as follows:

l. This is an action for damages which exceed the sum of
$15,000.00.

2. At all times material hereto, the Plaintiffs were husband
and wife residing in a common household in Clay, New York.

3. At all times material hereto, the Defendant, RED ROBIN
INTERNATIONAL, INC., was a foreign corporation duly organized and
licensed to conduct business within the State of Florida as a
restauranteur and did business under the fictitious name RED ROBIN
GOURMET BURGERS AND BREWS, and owned and operated a restaurant

located at ?982 Citrus Park Town §enter, Tampa, Florida 33625, with

EXHIBH"

A

anonymous

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agents and representatives conducting said business on a regular
basis in Hillsborough County and Pinellas County, Florida.

4. On or about July 11, 2015, the Plaintiff, JEROME L. WATTS,
purchased a meal known as insane romaine, which included chicken,
at the Defendant's aforementioned restaurant.

5. Upon being served the aforesaid meal, the Plaintiff,
JEROME L. WATTS, consumed same and subsequently became violently
ill.

6. At all times material hereto, the Defendant owed a duty to
the Plaintiffs and others similarly situated to exercise reasonable
care in the storage, preparation and cooking of the aforementioned
food.

7. The Defendant breached its duty of care to the Plaintiffs
in one or more of the following ways, each of which was a departure
from the accepted standard of care:

a) By serving food which was unwholesome and unfit for
human consumption;

b) By failing to sufficiently cook the aforementioned
chicken:

c) By failing to warn the Plaintiffs of the
unwholesomeness and unfitness of the food in
question;

d) By failing to adequately inspect the aforementioned

chicken before serving it.

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8. As a direct and proximate result of the aforementioned
breach of duty by the Defendant as hereinabove alleged, the
Plaintiff, JEROME L. WATTS, was injured in and about his body and
extremities, suffered bodily injury and resulting pain and
suffering, disability, mental anguish, loss of capacity for the
enjoyment of life, expense of hospitalization, medical and nursing
care and treatment, loss of earnings, loss of ability to earn money
and/or aggravation of previously existing conditions. The losses
are either permanent or continuing, and the Plaintiff, JEROME L.
WATTS, will suffer the losses and impairments in the future.

WHEREFORE, the Plaintiff, JEROME L. WATTS, demands judgment
against the Defendant and further demands a trial by jury on all

issues.

C UNT II
9. The Plaintiffs reaver each allegation of Paragraphs 1
through 7 of Count I herein.

10. At the time the aforementioned chicken consumed by the
Plaintiff, JEROME L. WATTS, was placed into the stream of commerce
by the Defendant, said items of food contained a defect or were in
a defective condition unreasonably dangerous to foreseeable
consumers, including the Plaintiff, JEROME L. WATTS, and thereby
proximately caused said Plaintiff's injuries.

ll. As a direct and proximate result of the aforementioned

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strict liability of the Defendant, as hereinabove alleged, the
Plaintiff, JEROME L. WATTS, was injured in and about his body and
extremities, suffered bodily injury and resulting pain and
suffering, disability, mental anguish, loss of capacity for the
enjoyment of life, expense of hospitalization, medical and nursing
care and treatment, loss of earnings, loss of ability to earn money
and/or aggravation of previously existing conditions. The losses
are either permanent or continuing, and the Plaintiff, JEROME L.
WATTS, will suffer the losses and impairments in the future.
WHEREFORE, the Plaintiff, JEROME L. WATTS, demands judgment
against the Defendant and further demands a trial by jury on all

issues.

COUNT III

12. The Plaintiffs reaver each allegation of Paragraphs 1
through 7 of Count I and 10 through 11 of Count II, herein.

13. As a direct and proximate result of the permanent
personal injury sustained by the Plaintiff, JEROME L. WATTS, the
Plaintiff, LISA WATTS, lost the consortium, companionship, sex,
society and services of her husband, JEROME L. WATTS, while he was
recuperating from the injuries sustained as a result of the
negligence and strict liability of the Defendant, Said losses are
either permanent or continuing and will be experienced in the

future.

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WHEREFORE, the Plaintiffs, JBROME L. WATTS and LISA WATTS,
demand judgment against the Defendant and further demand a trial by

jury on all issues.

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DANIEB!E: KASARIS, Esquire

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